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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.

 JOAN M. HOWARD,

        Plaintiff,

 v.

 CLIENT SERVICES, INC.,

       Defendant.
 _________________________________________/

                                       COMPLAINT
                                      JURY DEMAND

        1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”).

                              JURISDICTION AND VENUE

        2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and 15

 U.S.C. §1692k.Venue in this District is proper because Plaintiff resides here and

 Defendant mailed a letter into this District.

                                          PARTIES

        3.     Plaintiff, JOAN M. HOWARD, is a natural person, and citizen of the State

 of Florida, residing in Broward County, Florida.

        4.     Defendant, CLIENT SERVICES, INC., ("CSI") is a corporation formed

 under the laws of the State of Missouri and citizen of the State of Missouri with its

 principal place of business at 3451 Harry South Truman Boulevard, St. Charles,

 Missouri 63301.
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        5.     Defendant is registered with the Florida Department of State Division

 of Corporations as a foreign corporation. Its registered agent for service of process

 is the Corporation Service Company, 1201 Hayes Street, Tallahassee, Florida

 32301.

        6.     Defendant is registered with the Florida Office of Financial Regulation as a

 consumer collection agency.

        7.     Defendant regularly uses the mail and telephone in a business the principal

 purpose of which is the collection of debts.

        8.     Defendant regularly collects or attempts to collect debts for other parties.

                               FACTUAL ALLEGATIONS

        9.     Defendant sought to collect from Plaintiff an alleged debt stemming from a

 credit card Plaintiff used for personal, family and household purposes.

        10.    On or about August 18, 2017, Defendant mailed a letter to Plaintiff

 regarding the alleged debt, a true copy of which is attached as Exhibit "A".

        11.    The letter was the first communication Plaintiff received from Defendant

 regarding the alleged debt.

        12.    On information and belief, the letter was the first communication

 Defendant sent to Plaintiff regarding the alleged debt.

        13.    The FDCPA requires a debt collector to state in the initial letter "the name

 of the creditor to whom the debt is owed…" 15 U.S.C. §1692g(a)(2).

        14.    The letter states in relevant part "Re: Chase Bank USA, N. A."


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        15.    The letter does not expressly state the name of the alleged creditor.

        16.    Numerous courts have held that the appearance of a presumed creditor's

 name described by only the word "re" is insufficient to comply with 15 U.S.C.

 §1692g(a)(2). Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317 (Seventh

 Circuit, 2017); "Thus, the Court finds the fact that the caption February 13, 2015 Letter

 lists [re] John T. Mather Hospital is not, without more explanation, sufficient to satisfy

 Section 1692g(a)(2) because it does not identify the Hospital as the Plaintiff's current

 creditor." Datiz v. Int'l Recovery Assocs., 2016 U.S. Dist. LEXIS 102695, *29-30 (E. D.

 New York, 2016); and Eun Joo Lee v. Forster & Garbus LLP, 926 F. Supp. 2d 48230 ( E.

 D. New York, 2013).

        17.    Plaintiff is harmed by the inability to know with certainty the identity of the

 party to whom she is allegedly indebted.

                           COUNT I
 FAILURE TO STATE THE NAME OF THE CREDITOR TO WHOM THE DEBT
                           IS OWED

        18.    Plaintiff incorporates Paragraphs 1 through 17.

        19.    Defendant's letter fails to state the name of the creditor to whom the alleged

 debt is owed in violation of 15 U.S.C. §1692g(a)(2).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.


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                                          JURY DEMAND

       Plaintiff demands trial by jury.

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